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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
                                          )
 In re:                                   ) Chapter 11
                                          )
 GALLERIA 2425 OWNER, LLC,                )
                                          ) Case No. 23-34815
                   Debtor.                )
_________________________________________ )

                         STIPULATION AND AGREED ORDER
                     MODIFYING THE PLAN OBJECTION DEADLINE
                               [Regarding ECF No. 789]

          This Stipulation (the “Stipulation”) is entered into by and among (a) Christopher R.

Murray, the Trustee of the liquidating trust in in the above-captioned case, (the “Trustee”), and (b)

Sonder USA Inc. (“Sonder,” and together with the Trustee, the “Parties”). The Parties hereby

stipulate and agree as follows:

          WHEREAS, the Debtor, Galleria 2425 Owner LLC, filed a voluntary chapter 11 petition

on December 5, 2023.

          WHEREAS, on April 9, 2024, Sonder timely filed Claim No. 15 with the court.

          WHEREAS, on October 21, 2024, the Trustee timely filed Trustee’s Objection to Claim

No. 15 of Sonder USA Inc. (the “Objection”).1

          WHEREAS, the deadline for filing a response to the Objection was set for November 20,

2024, and the hearing to consider the Objection was set for December 18, 2024, at 11:00 AM (the

“Hearing”).

          WHEREAS, the Parties have agreed to correspondingly extend the response deadline to

December 11, 2024.




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       WHEREAS, the Parties have also agreed that the Hearing should instead be a

non-evidentiary status conference.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

APPROVAL BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO ORDERED

as follows:

       1.     The foregoing stipulations are incorporated herein by reference.

       2.     The deadline for Sonder to respond to the Objection shall be December 11, 2024.

       3.     The Hearing scheduled for December 18, 2024, at 11:00 a.m. shall be a

non-evidentiary status conference.



THE FOREGOING STIPULATION IS HEREBY APPROVED AND SO ORDERED.




 Signed:                       , 2024


                                            JEFFREY P. NORMAN
                                            UNITED STATES BANKRUPTCY JUDGE
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Houston, Texas
November 18, 2024


/s/ Broocks M. Wilson                 /s/ R.J. Shannon
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